                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 1 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Republic of Kazakhstan
                                           c/o Mukhtar Tileuberdi, Minister of Foreign Affairs
                                           Ministry of Foreign Affairs of the Republic of Kazakhstan
                                           31, D. Kunaev Street
                                           Astana, 010000
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT
                                                                                           February 22, 2023


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                   Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 2 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 3 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                   Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 4 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 5 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Anti-Corruption Agency of the Republic of Kazakhstan
                                           37, Seifullin Street
                                           Astana, 010000
                                           Republic of Kazakhstan




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                   Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 6 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 7 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                             Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Financial Monitoring Agency of the Republic of Kazakhstan
                                           10, Beibitshilik Street
                                           Astana, 010000
                                           Republic of Kazakhstan




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT
                                                                                           February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                   Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 8 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 9 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Committee for National Security of Kazakhstan
                                           66, Syganak Street
                                           Astana, 010000
                                           Republic of Kazakhstan




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 10 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 11 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Madina Abylkassymova, Chairperson
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 12 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 13 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Olzhas Kizatov, Deputy Chairperson
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 14 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 15 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Arman Omarbekov
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 16 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 17 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Adilbek Dzhaksybekov




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                  Case 2:23-cv-00247-JAD-VCF Document 5 Filed 02/22/23 Page 18 of 18

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 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
